                 No. 24-3097

   UNITED STATES COURT OF APPEALS
       FOR THE TENTH CIRCUIT

           STATE OF KANSAS, et al.,

             Plaintiffs-Appellees,
                      v.

UNITED STATES DEPARTMENT OF EDUCATION, et al.,

            Defendants-Appellants.

On Appeal from the United States District Court
           for the District of Kansas
     Case No. 5:24-cv-04041-JWB-ADM
        Honorable John W. Broomes


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                STATEMENT OF RELATED CASES

     There are no prior or related appeals, but many other challenges to
the same rulemaking are pending in cases around the country.




                                   1
                     STATEMENT OF THE ISSUE

     Title IX says, “No person in the United States shall, on the basis of

sex, be excluded from participation in, be denied the benefits of, or be
subjected to discrimination under any education program or activity re-
ceiving Federal financial assistance.” 20 U.S.C. § 1681(a). As its text and

history show, this statute prohibits schools from treating girls and
women worse than boys and men. However, it allows and sometimes re-
quires sex distinctions to ensure equal educational opportunities. This is
how it has been understood—by schools, students, teachers, state legis-
latures, Congress, and the Department of Education—for nearly fifty
years.

     But in April 2024, the Department of Education issued a new rule
that rewrites Title IX by (i) redefining discrimination “on the basis of sex”
(ii) regulating new forms of discrimination, (iii) forbidding sex distinc-
tions in private spaces like locker rooms and showers when applied to
individuals who identify as transgender, and (iv) expanding the defini-
tion of sex-based harassment to censor and compel speech. The district
court stayed and preliminarily enjoined the Rule under the Administra-
tive Procedure Act because it violates the Constitution in multiple re-
spects, is contrary to Title IX, and is arbitrary and capricious. Courts

across the country have reached the same conclusion. And the Supreme
Court affirmed a substantially identical ruling in a similar challenge.




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     The issue presented is whether the district court correctly stayed
and enjoined the Department’s enforcement of this new Title IX rule un-
der the APA while this case proceeds.




                                   3
                            INTRODUCTION

     Fifty years ago, Congress passed Title IX to narrow the achieve-

ment gap between women and men by prohibiting discrimination “on the
basis of sex” in education. But the Department of Education has publish-
ed a new rule that reimagines sex discrimination to include concepts like

gender identity that Title IX never mentions and Congress never even
contemplated. The Rule would prioritize gender identity over sex and
strip Title IX’s primary beneficiaries—women—of its promised benefits.
     This Rule turns Title IX upside down, substituting a well-estab-
lished binary concept of sex for a fluid concept of gender identity. For
example, under the new rule, girls must share showers (but not dormito-

ries) with boys; women must share hotel rooms (but not sorority houses)
with men; and girls must share restrooms (but not scout camps) with
boys—so long as the biological boys and men do not identify as male.
None of this comports with the law.
     After the Department sought to partially stay preliminary injunc-
tions entered in the Fifth and Sixth Circuits, the Supreme Court denied

relief. All nine justices agreed the plaintiffs “were entitled to preliminary
injunctive relief as to three provisions of the rule, including [§ 106.10,]
the central provision that newly defines sex discrimination to include dis-

crimination on the basis of sexual orientation and gender identity.” Dep’t
of Educ. v. Louisiana, 144 S. Ct. 2507, 2509–10 (2024) (per curiam); ac-
cord id. at 2510 (Sotomayor, J., dissenting in part). And the majority


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agreed that orders enjoining the entire rule were proper. Id. at 2510.
There is no reason to reach a different result here.

     The Rule is contrary to law. It attempts to decide a question of pro-
found and sincere national debate—a job for Congress, not unelected bu-
reaucrats. It forces schools to choose between following their states’ laws
or forgoing millions in federal funding. The Rule also affects all public-
school students, reaching their curricula, athletics, and speech. It will
harm many, including girls who must choose between sharing locker

rooms with biological males or seeking an accommodation that the De-
partment deems unfit for others. The Rule also violates constitutional
rights. It forces students and teachers to silence their views on sex and
gender, speak inaccurate pronouns, and share restrooms with individu-
als of the opposite sex. In addition, it violates the Spending Clause,
which requires Congress, not federal bureaucrats, to define clearly the
conditions for the receipt of federal funds and requires state legislatures
to have the opportunity to make a choice in the matter.
     Plaintiff-Appellees include (1) four States—Kansas, Alaska, Utah,
and Wyoming—who operate schools that receive federal funding and are
thus subject to the Rule; (2) Moms for Liberty, a group of parents advo-
cating for their children; (3) Young America’s Foundation, a group of col-
lege students seeking to speak freely on campus; (4) Female Athletes
United, a group of female athletes who want to ensure women’s sports
and private spaces remain for women, and (5) K.R., a 13-year-old girl who


                                    5
wants to keep her privacy rights and express her religious beliefs about
biological sex when she’s at school.
     All will suffer irreparable harm if the new rule goes into effect.
Plaintiff States will suffer nonrecoverable compliance costs and an un-
constitutional intrusion into their sovereignty. K.R. and organizational

Plaintiffs face imminent loss of their statutory and constitutional rights.
The new rule, for example, would punish students for declining to speak
inaccurate pronouns and saying sex is fixed. It would also override state
law and force K.R. and other students to share restrooms with males.
When faced with this choice before, K.R. stopped using the restroom at
school, suffering constantly to avoid other harm.
     To date, seven federal district courts and one appellate court have
enjoined Defendants’ entire Title IX rewrite, staying its effect in twenty-
six states and thousands of schools nationwide. Two other appellate
courts affirmed the scope of two such injunctions, and as noted, the Su-
preme Court rejected Defendants’ efforts to undo those injunctions. 1 This


1Alabama v. U.S. Sec’y of Educ., No. 24-12444, 2024 WL 3981994 (11th
Cir. Aug. 22, 2024); Tennessee v. Cardona, No. 24-5588, 2024 WL
3453880 (6th Cir. July 17, 2024); Louisiana v. DOE, No. 24-30399, 2024
WL 3452887 (5th Cir. July 17, 2024); Oklahoma v. Cardona, No. CIV-24-
00461-JD, 2024 WL 3609109 (W.D. Okla. July 31, 2024); Arkansas v.
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Carroll Indep. Sch. Dist. v. DOE, No. 4:24-cv-00461-O, 2024 WL 3381901
(N.D. Tex. July 11, 2024); Texas v. United States, No. 2:24-CV-86-Z, 2024
WL 3405342 (N.D. Tex. July 11, 2024); Kansas v. DOE, No. 24-4041-



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judicial consensus is correct. This Court should affirm the injunction here
and preserve the status quo.

                      STATEMENT OF THE CASE

     Title IX. Congress passed Title IX to ensure equal educational op-
portunities for “women.” Cohen v. Brown Univ., 101 F.3d 155, 165 (1st
Cir. 1996) (Cohen II). It has greatly succeeded. In 1970, for example, only
66% of working women had high-school diplomas; in 2016, it was 94%.2

In 1972, only 7% of high-school varsity athletes were women; in 2018, it
was 43%. 3 Title IX’s sex-based protections fueled these improvements.
     The New Rule. Now Defendants have reinterpreted Title IX, using
Bostock v. Clayton County, 590 U.S. 644 (2020), as an excuse. Nondis-
crimination on the Basis of Sex in Educ. Programs or Activities Receiving
Fed. Fin. Assistance, 89 F.R. 33,474 (Apr. 29, 2024) (the “Rule”). The Rule
defines sex discrimination to include distinctions based on “gender iden-
tity,” “sexual orientation,” “sex stereotypes,” “sex characteristics,” “preg-
nancy or related conditions,” and other conduct. 89 F.R. at 33,886 (codi-
fied at 34 C.F.R. 106.10). The Rule’s list of new sex-based distinctions is

JWB, 2024 WL 3273285 (D. Kan. July 2, 2024); Tennessee v. Cardona,
No. 2:24-072-DCR, 2024 WL 3019146 (E.D. Ky. June 17, 2024); Louisiana
v. DOE, No. 3:24-CV-00563, 2024 WL 2978786 (W.D. La. June 13, 2024).
2 U.S. Bureau of Labor Statistics, A look at women’s education and earn-

ings since the 1970s, TED: The Economics Daily (Dec. 27, 2017),
https://tinyurl.com/mrrjr75a.
3 Women’s Sports Found.,   50 Years of Title IX at 12 (May 2022), https://ti-
nyurl.com/2bttfwxd.


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“not exhaustive.” Id. at 33,512. Such distinctions violate Title IX, the Rule
says, because they “necessarily” require noticing “a person’s sex,” even if

“sex” means the “physiological or ‘biological distinctions between male
and female,’ as the Supreme Court assumed in Bostock,” 590 U.S. at 655.
89 F.R. 33,802.

     The Rule interprets Title IX to allow sex distinctions unless they
cause “more than de minimis harm,” id. at 33,887 (codified at 34 C.F.R.
§ 106.31(a)(2)), a concept found nowhere in the text of Title IX. Unless
exempted, any policy or “practice that prevents a person from participat-
ing in” a covered “activity consistent with [their] gender identity” causes
more than de minimis harm. Id. at 33,820. In general, if a sex distinction

is in Title IX, it’s exempted despite any impact on transgender-identify-
ing individuals. Id. at 33,816–17. So the Rule doesn’t exempt sex-specific
restrooms despite the longstanding regulation allowing them. Id. But

sex-based distinctions in after-school sports are “longstanding,” the De-
partment says, so these remain exempt from any that might trigger the
de-minimis-harm provision, even though sports are not mentioned in
statutory text. Id. So the Rule unevenly requires student access to sex-
specific activities “consistent with [their] gender identity.” Id. at 33,818.
     The Rule also broadens hostile-environment claims. Id. at 33,498.

The Supreme Court has said harassment must be “severe, pervasive, and
objectively offensive” to violate Title IX, Davis ex rel. LaShonda D. v.
Monroe Cnty. Bd. of Educ., 526 U.S. 629, 650 (1999), but under the Rule,


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harassment now need only be “severe or pervasive,” id. at 33,884 (empha-
sis added). Complainants need not allege “particular harm” or show they

were denied access to an educational program. Id. at 33,511. Harassment
can be anything considered “unwelcome” or that “limits” a student’s abil-
ity to benefit from a program. Id. at 33,884 (codified at 34 C.F.R. 106.2).

Defendants admit this standard is “broader” than the Supreme Court’s
statutory interpretation in Davis. 89 F.R. at 33,498. Together, § 106.10
and § 106.2 force teachers and students to treat individuals according to
their “gender identity” rather than biological sex, including by forcing
them to use incorrect pronouns and avoid making any statement suggest-
ing that sex is binary or immutable.

     Plaintiffs-Appellees. Plaintiff States Kansas, Alaska, Utah, and
Wyoming run educational programs that receive federal funding, thereby
requiring compliance with Title IX and accompanying regulations. Appx.
Vol. 1, 58–59, 169–74. These States have also enacted laws to ensure stu-
dent privacy and equal participation in educational activities. For exam-
ple, Kansas requires schools to provide sex-specific “overnight accommo-

dations” for school-sponsored travel, Kan. Stat. § 72-6286(a); Alaska and
Utah require sex-specific locker rooms, restrooms, and showers, AS §
14.18.040; Utah Code § 63G-31-301(1).
     K.R. is a 13-year-old girl who lived in Stillwater, Oklahoma, and
attended Stillwater Middle School. Appx. Vol 1, 176. Last year, K.R. en-
countered males who identify as females in a girls’ restroom at her school.


                                    9
Id. This made her feel uncomfortable, embarrassed, and unsafe. Id. at
176–77. The restrooms at Stillwater Middle provide little privacy: the

stall doorways have big gaps, allowing someone to easily see into them.
Id. at 177. After this, K.R. stopped using the school restrooms, which of-
ten forced her to avoid the restroom for nine hours at a time before Okla-

homa passed a law ensuring sex-specific restrooms. Id. at 177–78.
      K.R. is a Christian who believes God created humans male or fe-
male, and humans cannot change their God-given sex. Id. at 179. Her

faith also teaches that she should not lie. Id. She believes that referring
to a male as “she,” “her,” or any other inaccurate pronoun—or vice-versa
for a female—is a lie and would violate her faith. Id. She knows students

who identify as the opposite sex and who want others to refer to them
with inaccurate pronouns. Id. K.R. cannot do this consistent with her
faith. Id. K.R. sometimes discusses her religious beliefs with her friends

at school. Id. at 179–80. That includes her belief that there are only two
sexes, and that people cannot change their sex. Id. It also includes her
discomfort about using the restroom with men or boys. Id. K.R. fears that

if the Rule goes into effect, she could be punished for expressing her be-
liefs. Id.
      Three groups are also plaintiffs. Female Athletes United was
formed to defend equal educational opportunities for women and girls.
Id. at 183. Its members advocate for women’s sports and oppose sharing




                                    10
intimate spaces like restrooms, locker rooms, and overnight accommoda-
tions with males. Id. at 184–87. Moms for Liberty has over 130,000 mem-

bers. Id. at 29. It aims to unify, educate, and empower parents to defend
their rights, including by protecting their children from harmful ideolo-
gies taught in school. Id. Young America’s Foundation has thousands of

members on college campuses. It promotes free speech and empowers
members to educate campus communities through flyers, tabling, de-
bates, and more. Id. Each group has members at schools covered by Title

IX who have faced situations that lead them to fear the Rule will harm
them and impede their advocacy. Id. at 63–75.
     Procedural Background. The district court granted Plaintiffs’ mo-
tion to preliminarily enjoin the Rule under the APA, 5 U.S.C. § 705. Appx.
Vol. 3, 614. It held that Plaintiffs’ claims would likely succeed because
the Rule’s new definition of sex discrimination is contrary to Title IX, not
justified by Bostock, exceeded agency authority under the major ques-
tions doctrine, and violated the Spending Clause. Id. at 590–96. The de
minimis–harm standard is contrary to law and arbitrary and capricious
because it requires inconsistent applications and Defendants failed to
consider significant risks. Id. at 589, 605. And the Rule’s new harassment
definition likely violated the First Amendment because it would compel
and restrict speech about gender identity. Id. at 596–600. The court held
the equities favored halting the Rule’s enforcement while this case pro-
ceeds. Id. at 605–606.


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     Defendants appealed and moved to partially stay the injunction.
The court below denied that request. Appx. Vol. 4, 666–73. This Court
has not yet ruled. In a parallel case, the Supreme Court refused to stay a
nearly identical injunction. All justices “accept[ed] that the plaintiffs
were entitled to preliminary injunctive relief as to three provisions of the

rule,” Dep’t of Educ. v. Louisiana, 144 S. Ct. 2507, 2509–10 (2024) (per
curiam)—the exact provisions Defendants consider “relevant here,” Op.
Br. 2. The majority further concluded that Defendants did not show that
those provisions could be severed. Louisiana, 144 S. Ct. at 2510. It said
schools would face practical “difficulty … in determining how to [par-
tially] apply” the Rule. Id.

                   SUMMARY OF THE ARGUMENT

     The Rule redefines sex discrimination in Title IX to cover new bases
of discrimination, including discrimination based on “gender identity”; it
manufactures a new de minimis–harm test allowing gender identity to
supersede sex; and it expands sex-based harassment to compel and cen-

sor speech, forcing students to speak incorrect pronouns and preventing
them from saying sex is fixed—all of this without Congress ever speaking
on the matter. This Court should affirm because Plaintiffs will likely suc-

ceed on the merits, and nothing warrants disturbing the status quo.




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      I. Merits. In a similar case, Defendants moved the Supreme Court
to partially stay a preliminary injunction nearly identical to the injunc-

tion below. That request was denied, and all nine Justices accepted that
relief was proper as to the “relevant” sections. Louisiana, 144 S. Ct. 2507,
2509–10; accord id. at 2510 (Sotomayor, J., dissenting in part); Op. Br. 2.

That order confirms that Plaintiffs deserve relief here.
      II.A. That ruling was justified. The Rule violates the major-ques-
tions doctrine by attempting to settle an important national debate by
agency fiat, rather than congressional lawmaking. The Rule is contrary
to Title IX. Title IX’s original public meaning ensured equal educational
opportunities by prohibiting one sex from being treated worse than the
other sex. Title IX is unlike Title VII. It covers only “sex.” It ties multiple,
complementary, phrases together in its prohibition to ensure equal op-
portunities for both sexes. And it applies to education, not employment.

Title IX cannot be “construed” to forbid sex distinctions that advance its
goals. 20 U.S.C. § 1686.
      Bostock cannot apply to Title IX for many reasons: (i) Bostock in-
terpreted Title VII, which governs relationships between private parties
in the employment context. 590 U.S. at 649–50. Title IX is a Spending
Clause statute requiring different analysis. (ii) Bostock said “sex is not

relevant to” employment decisions, and Title VII treats sex like many
other protected traits. Id. at 660 (citation omitted). Title IX covers only
sex, which often is relevant to promoting equal educational opportunities.


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(iii) Title IX cannot be “construed” to forbid sex distinctions. 20 U.S.C.
§ 1686. Title VII can. (iv) Title IX allows schools to treat males and fe-
males comparably; Title VII doesn’t. Bostock, 590 U.S. at 665. (v) Finally,
Bostock expressly declined to “address bathrooms, locker rooms, or [sim-
ilar spaces]” in the workplace—the very places the Department says Bos-

tock applies in schools. Id. at 681.
      The Department manufactured a new de minimis–harm standard
to achieve its policy goals. It argues (1) that Title IX doesn’t forbid de

minimis harms and (2) that sex distinctions always cause more than de
minimis harm, but only when applied to individuals who identify as
transgender. But Title IX never mentions any of this. And this non-tex-
tual construct elevates gender identity over sex. After all, if sex-specific
locker room policies cause mere de minimis harm when applied to men
who identify as men but more than de minimis harm when applied to

men who identify as women, that means gender identity supersedes bio-
logical sex.
      Nothing justifies Defendants’ attempted Title IX rewrite. That’s

even clearer under federalism and clear-statement rules. Congress must
clearly impose conditions in spending legislation. For over 50 years, eve-
ryone understood that Title IX allows sex distinctions to ensure equal
educational opportunities for men and women, and the state legislatures
accepted the terms of the deal. It’s unreasonable to say Title IX unam-
biguously prioritizes gender identity over sex through a de minimis–


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harm concept no one knew about until April 2024. The Department has
no power to resolve this debate.

     II.B. The Rule violates the Constitution and the Religious Freedom
Restoration Act (“RFRA”). Title IX is a Spending Clause statute. The
Rule changes the conditions to which recipients agreed when they ac-
cepted federal funding, forcing the States to violate their citizens’ consti-
tutional rights. It also expands liability for hostile-environment claims.
Its redefinition of harassment forces people, including those with reli-

gious objections, to speak inaccurate pronouns and to avoid saying sex is
fixed. This imposes viewpoint-based discrimination through a broad and
vague rule. That violates the First Amendment and RFRA.

     II.C. The Rule is arbitrary and capricious. It’s not derived from rea-
soned decision-making. And it breaks with past practice without ac-
knowledging it or considering serious reliance interests.

     III–IV. Equities. Plaintiffs will suffer irreparable harm if the Rule
goes into effect. The States will incur nonrecoverable compliance costs
(twice if the Rule takes effect and is then vacated) and suffer an unjust

intrusion into their sovereignty. K.R. and the organizational Plaintiffs
will lose valuable free-speech and free-exercise rights, and some will self-
censor their speech. These results violate Plaintiffs’ constitutional and

statutory rights. And the loss of these rights constitutes irreparable in-
jury. In contrast, Defendants suffer no harm when they cannot act ille-
gally. The public benefits from correctly applying the law.


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     V. Overbreadth. Defendants say the current injunction is overbroad
because (i) it covers all members of organizational Plaintiffs no matter

when they join the group, and (ii) the Rule can be severed. But an injunc-
tion may protect organizational members even when membership is
fluid. And Defendants’ severability argument has been forfeited and re-
jected. This Court should uphold the current injunction and preserve the
status quo while this case proceeds.

                       STANDARD OF REVIEW

     This Court reviews a “district court’s decision to grant” an APA stay
or “preliminary injunction for abuse of discretion,” with its factual find-
ings reviewed “for clear error and its conclusions of law de novo.” Colo-
rado v. U.S. Env’t. Prot. Agency, 989 F.3d 874, 883 (10th Cir. 2021).

                              ARGUMENT

     The APA allows district courts to “postpone the effective date of
an[y] agency action” to prevent irreparable injury. 5 U.S.C. § 705. To ob-
tain either a § 705 stay or a preliminary injunction, the movant must
show the same factors: likely success on the merits, irreparable harm,
and the balance of equities and public interest favoring movants. Colo-

rado, 989 F.3d at 883. Each factor supports the ruling below.




                                    16
I.   The Supreme Court’s ruling in Department of Education v. Louisi-
     ana confirms Plaintiffs’ right to relief here.
     In a parallel case, Defendants moved the Supreme Court to par-
tially stay a preliminary injunction nearly identical to the injunction be-
low. That request was denied, and all nine Justices “accept[ed] that
“plaintiffs were entitled to preliminary injunctive relief as to three provi-
sions of the rule”—§ 106.10, § 106.31, and § 106.2’s harassment defini-
tion. Louisiana, 144 S. Ct. 2507, 2509–10; accord id. at 2510 (Sotomayor,

J., dissenting). Those are the exact provisions the Department considers
“relevant here.” Op. Br. 2.
     This Court is “bound by Supreme Court dicta almost as firmly as by
the Court’s outright holdings.…” Mohamed v. Jones, 100 F.4th 1214,
1233 & n.23 (10th Cir. 2024) (cleaned up). No matter the order’s precise
precedential effect, the Justices’ unanimous agreement on likely success
supports continued relief here.
     And the majority held that the entire Rule should be enjoined. Lou-
isiana, 144 S. Ct. at 2510. Defendants did not show that the Rule could
be severed. Id. Its “new definition of sex discrimination is intertwined
with and affects many other provisions of” the Rule. Id. Here, Defendants
recycle their failed arguments. Louisiana shows that this Court should

affirm. Alabama, 2024 WL 3981994 at *1 n.1.




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II.   Plaintiffs will likely succeed on the merits.

      Under the APA, courts must set aside rules that contradict law,

contravene the Constitution, or lack a reasonable basis. 5 U.S.C. § 706(2).
Because the Rule does all three, Plaintiffs will likely succeed.

      A.   The Rule violates the major questions doctrine.

      The district court correctly held that the Rule violates the major
questions doctrine. This doctrine ensures that Congress—not federal

agencies—gets to make major policy decisions on issues of vast economic
or political importance. W. Virginia v. EPA, 697, 721–23 (2022). It also
stops agencies from interfering with areas traditionally governed by state
law without clear congressional authorization. Id. at 724; id. at 743 (Gor-
such, J., concurring). The result: major questions “must be entirely regu-
lated by the legislature itself, even if Congress” allows an agency to shore
up “the details.” Id. at 737. If an agency claims the power to make these
decisions, the Court should consider whether Congress has provided
“clear congressional” approval. Id. at 724.

      Defendants’ Title IX revolution lacks that approval. The district
court held that whether every teacher, student, and school in America
should be forced to “accept an individual’s subjective gender identity re-

gardless of biological sex,” whether males should be allowed in female
locker rooms and restrooms, and what criteria schools should use to de-
termine gender identity were major questions of “vast economic and po-
litical significance.” Order at 25–26. Because Title IX protects biological


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sex—not gender identity, sexual orientation, and sex stereotypes—clear
congressional authorization is absent. Id.

     Despite the district court’s detailed analysis of this doctrine, De-
fendants devote less than a page to it. Op. Br. at 25. They don’t dispute
that these are major questions requiring clear congressional authoriza-

tion. Instead, they repeat the same conclusory argument—express con-
gressional authorization is unnecessary because, after Bostock, sex dis-
crimination includes gender-identity and sexual-orientation discrimina-
tion. Not only does this fail to encompass the entire Rule (which covers
“gender stereotypes” and other features in addition to gender identity
and sexual orientation), as the district court held below, infra Part B.4,

it’s incorrect. Bostock doesn’t change Title IX’s clear meaning as it’s been
interpreted for fifty years.
     Defendants mention that Bostock did not apply the major questions

doctrine. Op. Br. at 25. But Bostock was a private suit brought by private
parties against private parties. No agency regulation was involved, so the
doctrine didn’t apply. Here, Defendants attempt to settle important is-

sues by regulation. This is the situation in which the major questions
doctrine applies. See Biden v. Nebraska, 143 S. Ct. 2355, 2373 (2023).




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        This is obviously a major question. A significant number of states
have passed laws ensuring privacy in men’s and women’s restrooms. 4 The

Rule would end the ongoing debate by bureaucratic fiat. In doing so, it
threatens to change Title IX “from one sort of scheme of regulation into”
a “different” one, West Virginia, 597 U.S. at 728 (cleaned up), displacing

many state laws, affecting millions of students, and jeopardizing billions
in school funding.
        The Rule also attempts to fundamentally reorder the nation’s edu-
cation system by (1) conditioning education funding on incorporating gen-
der ideology into the entire K-12 education system, (2) mandating a cam-
pus grievance procedure that limits the due-process rights of college stu-
dents accused of sex-based harassment (with which the new definition of
sex-based discrimination is thoroughly entwined), and (3) requiring
schools to provide benefits to students and employees for voluntary abor-

tions. All of these are major political issues. Defendants’ changes also
raise serious constitutional concerns. These “important subjects” “must
be regulated by the legislature itself.” Id. Defendants must show clear

authorization for this upheaval. They cannot.




4   See, e.g., Ala. Code § 16-1-54; Ark. Code Ann. § 6-21-120; Fla. Stat.
Ann. § 553.865; Idaho Code Ann. § 33-6703; Iowa Code Ann. § 280.33;
Ky. Rev. Stat. Ann. § 158.189; La. Rev. Stat. § 9:62; Miss. Stat. Ann.
§ 29-18-7; N.D. Cent. Code § 15.1-06-21; 70 Okla. Stat. Ann. § 1-125;
Tenn. Code Ann. § 49-2-802; Utah Stat. Ann. § 63G-31-301.


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     B.    The Rule is contrary to Title IX.

     Title IX forbids schools from treating one sex worse than the other

but doesn’t forbid all sex distinctions. Sometimes, Title IX requires them.
That makes Bostock inapposite. And while Defendants correctly accept
that Title IX allows sex distinctions, its new de minimis–harm standard

that favors gender identity over sex is contrary to law. Nothing in Title
IX suggests that gender identity supersedes sex.

           1.    Title IX forbids treating one sex worse than the other.

     Statutory interpretation begins with the text. Courts give “terms
their ordinary meaning at the time Congress adopted them.” Niz-Chavez

v. Garland, 593 U.S. 155, 160 (2021). When terms have more than one
possible meaning, courts choose the “everyday” one. McBoyle v. United
States, 283 U.S. 25, 26 (1931). And they do not update statutes to suit
their preferences. Bostock, 590 U.S. at 654–55.
     Title IX’s text in 20 U.S.C. § 1681(a) forbids treating one sex worse
than the other. Start with “on the basis of sex.” No one disputes that “sex”
means the “physiological or ‘biological distinctions between male and fe-
male.’” 89 F.R. at 33,802 (quoting Bostock, 590 U.S. at 655); see Op. Br.
22 (accepting this definition); Appx. Vol. 3, 584 (same).

     Next, consider the word “discrimination.” Sometimes, “discrimi-
nate” means “[t]o make a clear distinction; distinguish; differentiate,”
The American Heritage Dictionary 376 (1975), and “discrimination”

means “[t]he act of discriminating,” id., or to treat someone differently,


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Webster’s Third New International Dictionary 648 (1966) (“Webster’s
Third”)). But to “be subjected to discrimination,” 20 U.S.C. § 1681(a), con-
veys a distinction for the wrong reason: “a difference in treatment or fa-
vor on a class or categorical basis in disregard of individual merit.” Web-
ster’s Third 648. Here, precedent and dictionaries agree. To “discrimi-

nate” means to treat “similarly situated” individuals differently. CSX
Trasnp., Inc. v. Ala. Dept’ of Revenue, 562 U.S. 277, 287 (2011).
     Title IX also forbids “exclud[ing] from participation in” or “den[ying]
the benefits of” an educational program. 20 U.S.C. § 1681(a). These
nearby terms help clarify discrimination. FCC v. AT&T Inc., 562 U.S.
397, 406 (2011) (multiple “words together may assume a more particular
meaning than those words in isolation”). To “exclude” means to “bar from
participation, enjoyment, consideration, or inclusion.” Webster’s Third
793. And to “deny” means “to turn down or give a negative answer.” Id.

603. These words reinforce that discrimination is not merely “differen-
tial” treatment, but “less favorable” treatment based on sex, Jackson v.
Birmingham Bd. of Educ., 544 U.S. 167, 174 (2005), where nothing justi-
fies “the difference in treatment,” CSX, 562 U.S. at 287.
     Finally, these words must be understood in the context of an “edu-
cation program,” like classrooms, locker rooms, and school sports. See

United Sav. Ass’n of Tex. v. Timbers of Inwood Forest Assocs., Ltd., 484
U.S. 365, 371 (1988) (“A provision … is often clarified by” its “context.”).




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While considering sex isn’t “relevant to the selection, evaluation, or com-
pensation of employees,” Bostock, 590 U.S. at 660 (citation omitted), it is

relevant for ensuring equal opportunities for men and women in educa-
tion. In sum, Title IX forbids differential treatment that treats one sex
worse than the other when it comes to educational opportunities. Adams

ex rel. Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 811 (11th Cir.
2022).

           2.    Title IX doesn’t forbid sex distinctions.

     What dictionaries establish, “context” confirms. Whitman v. Am.
Trucking Ass’ns, 531 U.S. 457, 471 (2001). While Title IX prohibits sex
discrimination, it doesn’t forbid all sex distinctions.
     Start with statutory context. Section 1681(a) cannot be read “in a
vacuum”; it “must be read in … context” and construed to fit “the overall
statutory scheme.” Davis v. Mich. Dep’t of Treasury, 489 U.S. 803, 809
(1989). Here, a nearby provision states: “[N]othing … [in Title IX] shall
be construed to prohibit any educational institution … from maintaining

separate living facilities for the different sexes.” 20 U.S.C. § 1686. This
rule of construction shows that § 1681(a) itself allows sex distinctions,
including to ensure comparable living facilities protecting privacy. See

United Sav., 484 U.S. at 371 (accepting meaning “compatible with the
rest of the law”); see also Scalia & Garner, supra, 167–69.




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      Defendants call this rule a Title IX “carve-out.” Op. Br. 15. But the
rule isn’t listed among the statutory exceptions, 20 U.S.C. § 1681(a)(1)–
(9); its text forbids § 1681(a) from being “construed” to prohibit a sex dis-
tinction, 20 U.S.C. § 1686; and Congress called the rule an “[i]nterpreta-
tion” principle in its section title. Id. This title “reinforces what the [pro-

vision’s] nouns and verbs independently suggest”—§ 1681(a)’s nondis-
crimination mandate allows sex distinctions. Dubin v. United States, 599
U.S. 110, 121 (2023) (citation omitted); see also Scalia & Garner, supra,

221–24 (explaining title-and-headings canon).
      Defendants accept this logic to defend another point, saying their
regulations allow sex-specific bathrooms because of § 1681(a). Op. Br. 29.
But if § 1686 were a mere exception to § 1681(a)’s non-discrimination
rule, then the 1975 rulemaking could not have provided for sex-specific
“toilet, locker room, and shower facilities” unless these private facilities

count as “living facilities”—and Defendants insist they do not. Op. Br. 29;
Nondiscrimination on the Basis of Sex in Education Programs and Activ-
ities Receiving or Benefiting from Federal Financial Assistance, 40 F.R.

24,128, 24,139–43 (June 4, 1975) (“1975 rulemaking”); contra Adams, 57
F.4th at 803 & n.6. Section 1686 is not an exception to § 1681(a), but an
interpretive command.

      Historical context confirms Title IX’s plain meaning. See Fischer v.
United States, 144 S. Ct. 2176, 2186 (2024) (looking to “history of the
provision” to discern meaning, including that it was passed in response


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to “Enron accounting scandal”). “Title IX was enacted” to stop “discrimi-
nation against women with respect to educational opportunities.” McCor-

mick ex rel. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 286
(2d Cir. 2004); Cannon v. Univ. of Chi., 441 U.S. 677, 704 & n.36 (1979);
Cohen v. Brown Univ., 101 F.3d 155, 164–65 (1st Cir. 1996) (detailing
same historical goal). So, “Title IX’s remedial focus is, quite properly, not
on the overrepresented gender, but on the underrepresented gender”—
women. Cohen II, 101 F.3d at 175.

     And students often need sex-specific spaces to ensure equal educa-
tional opportunities because men and women are different. Their “[p]hy-
sical differences” are “enduring.” United States v. Virginia (VMI), 518

U.S. 515, 533 (1996). Surely if prisoners have the constitutional right not
to be viewed by guards “of the opposite sex” when “engaged in personal
activities, such as undressing, using toilet facilities, or showering,” Cum-

bey v. Meachum, 684 F.2d 712, 714 (10th Cir. 1982), young girls deserve
the same privacy protections under Title IX.
     As Title IX’s principal sponsor understood, the law must respect

relevant differences between men and women. 117 Cong. Rec. 30,407
(1971) (statement of Sen. Bayh); 118 Cong. Rec. 5807 (1972) (same).
When it comes to privacy, for example, “biological sex is the sole charac-

teristic” that determines whether individuals are similarly situated for
purposes of restrooms. Adams, 57 F.4th at 803 n.6. The same is true for
sports. Clark ex rel. Clark v. Ariz. Interscholastic Ass’n, 695 F.2d 1126,


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1131 (9th Cir. 1982). Without sex distinctions, Title IX cannot achieve its
goal to stop denials of “benefits” in educational programs “on the basis of
sex.” 20 U.S.C. § 1681(a). See Scalia & Garner, supra, 63–65 (explaining
presumption against ineffectiveness).5
     Post-enactment developments support this interpretation. The Su-

preme Court has called such “developments … authoritative expressions
concerning [Title IX’s] scope and purpose.” N. Haven Bd. of Educ. v. Bell,
456 U.S. 512, 535 (1982) (citation omitted). Start with Title IX’s imple-
menting regulations born out of the Javits Amendment, as codified
throughout 34 C.F.R. § 106. Compare 40 F.R. 24,128, 24,139–43 with 34
C.F.R. § 106.14–41. These regulations allow sex-specific spaces like phys-
ical-education classes, restrooms, showers, locker rooms, and sports
teams. And they arose because Congress required the Department’s pre-
decessor to submit the regulations to Congress for review. 1975 rulemak-

ing, 40 F.R. 24,128. After six days of hearings on whether the rulemaking
was “consistent with the law” and congressional intent, Congress allowed


5 While some   amici ask this Court to disregard this history and purpose,
Br. of Statutory Interpretation & Equality Law Scholars, Doc. No.
010111106870, amici ignore that Title IX’s purpose comes from its text.
And “textualists” must consider “the relevant context for a statutory text
includ[ing] the mischiefs the authors were addressing,” John F. Manning,
What Divides Textualists from Purposivists?, 106 Colum. L. Rev. 70, 84
(2006). Because “no party asks [this Court] to reconsider” the many prec-
edents identifying Title IX’s purpose, this Court may take them as given.
Students for Fair Admissions, Inc. v. President & Fellows of Harvard
Coll., 600 U.S. 181, 198 n.2 (2023).

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the regulations to take effect. N. Haven, 456 U.S. at 531–32 (citation
omitted).

     Courts and federal administrations have long believed those regu-
lations “accurately reflect congressional intent.’’ Grove City Coll. v. Bell,
465 U.S. 555, 568 (1984); see also 89 F.R. at 33,817. Refusing “to overrule

an agency’s construction” that Congress specifically asked to review pro-
vides strong “evidence of the reasonableness of that construction.” United
States v. Riverside Bayview Homes, Inc., 474 U.S. 121, 137 (1985). So,
courts have given Title IX’s implementing regulations “high” deference.
E.g., Cohen v. Brown Univ. (“Cohen I”), 991 F.2d 888, 895 (1st Cir. 1993).
     Congress ratified this construction and widespread judicial under-
standing when it amended Title IX through the 1987 Civil Rights Resto-
ration Act, 20 U.S.C. § 1687(2)(A). That Act reversed Grove City to ensure
that Title IX applied to all education programs at federally funded
schools, including programs like sports. Id. Congress did this to ensure
“equal opportunities for female athletes.” McCormick, 370 F.3d at 287;
Cohen I, 991 F.2d at 894. With this amendment, Congress considered
“the ‘precise issue’ presented” here. Rapanos v. United States, 547 U.S.
715, 750 (2006) (plurality) (citation omitted, emphasis retained). That is
“convincing” evidence that Congress adopted this statutory understand-

ing. See Tex. Dep’t of Hous. & Cmty. Affs. v. Inclusive Cmtys. Project,
Inc., 576 U.S. 519, 537–38 (2015); Scalia & Garner, supra, 322–23 (expl-
aining prior-construction canon). So, Congress adopted the consensus


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since 1972 that Title IX allows schools to consider sex to ensure equal
sex-based opportunities.

           3.    Title IX sometimes requires sex distinctions.

     Title IX not only allows sex distinctions; it sometimes requires

them. Again, start with the text. “Students are not only protected from
discrimination, but also specifically shielded from being ‘excluded from
participation in’ or ‘denied the benefits of ’ any ‘education program or ac-

tivity.’” Davis, 526 U.S. at 650 (quoting 20 U.S.C. § 1681(a)). This shows
that unlawful “discrimination” cannot include sex distinctions necessary
to avoid denying sex-based benefits to Title IX’s primary beneficiaries—
women. See Murray v. UBS Secs., LLC, 601 U.S. 23, 33 (2024).
     Take showers and locker rooms. “As other courts have concluded,
the use … of school restrooms is part and parcel of the provision of edu-
cational services covered by Title IX…” Evancho v. Pine-Richland Sch.
Dist., 237 F. Supp. 3d 267, 295 (W.D. Pa. 2017). And students retain “a
significant privacy interest in their unclothed bodies,” including “the

right to shield [their] body from exposure to viewing by the opposite sex.”
Brannum v. Overton Cnty. Sch. Bd., 516 F.3d 489, 494, 496 (6th Cir.
2008) (citation omitted). As Justice Ginsburg explained, integrating Vir-
ginia Military Institute “would undoubtedly require alterations neces-
sary to afford members of each sex privacy from the other sex in living
arrangements.” VMI, 518 U.S. at 550 n.19. But the Rule requires schools




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to permit some biological males into girls’ showers and locker rooms, and
vice versa.
     That result cannot be squared with Title IX. Students don’t have
equal educational benefits if forced to shower or share intimate spaces
with the opposite sex. The Department agrees that students are denied

Title IX benefits when schools designate sex-specific restrooms but deny
students access to them “on the basis of sex.” Grimm v. Gloucester Cnty.
Sch. Bd., 972 F.3d 586, 618 (4th Cir. 2020). K.R., for example, lost educa-
tional benefits when she “avoided using” the girls’ “restroom” to keep
from exposing her unclothed body to male peers. Grimm, 972 F.3d at 617;
see Appx. Vol 1, 176. It’s no answer to confine girls like K.R. to “single-
occupancy facilities.” 89 F.R. 33,820. Some say even this inflicts “legally
cognizable [harm] under Title IX.” Grimm, 972 F.3d at 618.
     Similarly, for equal athletic opportunity, relevant differences can-
not be ignored. Because of the “average physiological differences” be-
tween men and women, “males would displace females to a substantial
extent if they were allowed to compete” for the same teams. Clark, 695

F.2d at 1131. Equal opportunity in theory doesn’t count. As courts have
interpreted Title IX for years, Title IX requires schools to account for bi-
ological differences and to make “gender-conscience” decisions to ensure
students have equal educational opportunities. Neal v. Bd. of Trustees of
California State Universities, 198 F.3d 763, 773 n.8 (9th Cir. 1999). See




                                    29
also Chalenor v. Univ. of N. Dakota, 291 F.3d 1042, 1049 (8th Cir. 2002)
(surveying these cases).

     Text, context, and history agree: Title IX forbids treating one sex
worse than the other; it doesn’t forbid sex distinctions.

           4.    Bostock cannot apply to Title IX.
     The Rule transforms Title IX. First, § 106.10 redefines “sex discrim-
ination” to include “discrimination on the basis of … gender identity.” See

89 F.R. at 33,802. Then with limited exceptions, § 106.31(a)(2) requires
student access to sex-specific activities “consistent with [their] gender
identity,” id. at 33,818. Together, these provisions purport to allow sex

distinctions, but not as applied to transgender individuals, because De-
fendants say such applications cause more than de minimis harm. Id. at
33,820. In their view, Bostock requires this. But Bostock doesn’t extend

“beyond Title VII.” 590 U.S. at 681. And nothing in Title IX suggests that
gender identity supersedes sex.
     Section 106.10 redefines sex discrimination, contrary to Title IX.

Bostock cannot apply to Title IX for four reasons. First, Bostock held that
“sex is not relevant to the selection, evaluation, or compensation of em-
ployees” under Title VII, which treats sex like race, national origin, and

other protected classifications. 590 U.S. at 660 (cleaned up). But Title IX
covers only sex, which often is relevant to promoting equal educational




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opportunities. Take sports and physical-education classes. Under Bos-
tock, employers cannot consider sex when hiring or firing employees. For
school sports and physical-education classes, that logic would mean
schools cannot create sex-specific teams. But “athletics programs neces-
sarily allocate opportunities separately for male and female students.”

Cohen II, 101 F.3d at 177; Op. Br. 7 (Title IX allows sex-specific “athletic
teams”). That ensures equal sex-based opportunity. Clark, 695 F.2d at
1131.
        This shows that Title VII “vastly” differs from “Title IX.” Jackson,
544 U.S. at 175. Not only does the statute require § 1681(a)’s nondiscrim-
ination mandate to allow sex distinctions, see 20 U.S.C. § 1686, Defend-

ants accept that Title IX allows sex distinctions to ensure equal sex-based
opportunities, 89 F.R. at 33,814. For example, Defendants say their
longstanding regulation allowing sex-specific “toilet, locker room, and
shower facilities” arose from § 1681(a)’s “general nondiscrimination man-
date.” Op. Br. 29. They also accept that Title IX allows sex-specific “ath-
letic teams.” Id. at 7. So, while Defendants say Bostock’s interchangeable

use of “on the basis of ” with “because of ” shows Bostock covers Title IX,
id. at 23, this “read[s] too much into too little,” Nat’l Park Producers
Council v. Ross, 598 U.S. 356, 373 (2023). Courts do not parse “[t]he lan-
guage of an opinion” as though they are “dealing with … a statute.” Id.
And Defendants’ contradiction dooms their dogma.




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     As other courts have held, Bostock’s reasoning doesn’t change Title
IX. E.g., Alabama, 2024 WL 3981994 at *5; Tennessee, 2024 WL 3453880

at *2–*3. Defendants’ cases do not suggest otherwise. For example,
Fowler v. Stitt said (in dicta) that Bostock applied to equal-protection
analysis, 104 F.4th 770 (10th Cir. 2024); but Fowler never addressed Ti-

tle IX with its distinct text, context, and history. And unlike equal-pro-
tection doctrine, Title IX doesn’t explicitly allow for means-ends balanc-
ing. So, incorporating Bostock into Title IX would foreclose sex-specific

sports, showers, locker rooms, and other similar spaces. There is nothing
“commonsense” about that. Fowler, 104 F.4th at 790. Nor are cases like
Grimm helpful. They treat biological differences as stereotypes and
equate sex with gender identity, ideas Defendants expressly disavow.
A.C. v. Metro. Sch. Dist. of Martinsville, 75 F.4th 760, 769-70 (7th Cir.
2023); Op. Br. 22 (“§ 106.10 doesn’t … redefine sex.”).

     Second, Title IX’s regulations allow schools to “treat[] males and
females comparably as groups.” Bostock, 590 U.S. at 665 (rejecting this
reading of Title VII). Housing for each sex must be “[c]omparable in qual-
ity and cost to the student.” 34 C.F.R. § 106.32 (b)(2)(ii); see id.
§ 106.32(c)(2) (similar). “[T]oilet, locker room, and shower facilities” must
be comparable. 34 C.F.R. § 106.33. And schools must “provide equal ath-
letic opportunity for members of both sexes,” id. § 106.41 (c), though they
need not provide the same sports or teams for both, id. § 106.41(b). Under




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Defendants’ logic, these rules violate Title IX. But courts should not dis-
count regulations “issued roughly contemporaneously with [Title IX’s]
enactment” that have “remained consistent over time.” Loper Bright En-
ters. v. Raimondo, 144 S. Ct. 2244, 2258 (2024).
     Fourth, as the district court recognized, the Bostock Court “explic-
itly declined to address ... whether its holding would be applicable to
‘bathrooms, locker rooms, or anything else of the kind.’” Order at 20
(quoting Bostock, 590 U.S. at 681). And if Bostock is not applicable to

restrooms and locker rooms under Title VII, it’s unreasonable to assume
it’s applicable to restrooms and locker rooms under Title IX.
     Finally, Title IX is not a general antidiscrimination statute like Ti-
tle VII. As its text and history show, Title IX was primarily designed to
protect women and girls in education. Supra § II.B.1–3. Title VII on the
other hand protects a broader group of individuals and traits. Bostock’s

logic cannot simply be copied and pasted to a more specific statute.

           5.    The de minimis–harm standard subverts Title IX’s sex-
                 based protections.

     Because Bostock cannot apply to Title IX, the Department manu-
factures a new de minimis–harm standard to achieve its policy goals. 89

F.R. at 33,887 (codified at 34 C.F.R. § 106.31(a)); Op. Br. 26–34. The De-
partment says this standard is just another way to say “legally cognizable
injury.” Id. at 25. It’s not. Rather than uphold Title IX’s sex-based protec-

tions, this new standard subverts them.


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     Back to the text. Title IX never mentions de minimis harm. It pro-
hibits schools from excluding, denying benefits, or discriminating—

meaning to “treat worse.” Muldrow v. City of St. Louis, 601 U.S. 346, 355
(2024); see supra § II.A.1. But nothing in Title IX “says anything about
how much worse.” Muldrow, 601 U.S. at 355. The statute simply doesn’t

allow Defendants to define threshold liability however they please and
with no statutory basis.
     Defendants’ illogical “harm” definition overrides Title IX’s sex-
based protections. The Rule says sex distinctions always cause more than
de minimis harm, but only when applied to people with certain gender
identities. 89 F.R. at 33,887; see id. at 33,815 (“stigmatic injuries” per se

harmful); Op. Br. 27. So, sex-specific locker rooms cause de minimis harm
when applied to men who identify as men, but more than de minimis
harm when applied to men who identify as women, 89 F.R. at 33,820—
even though women (whose harms Defendants dismiss) have their unclo-
thed bodies exposed to an unclothed male in both cases. On this logic,
gender identity supersedes sex—the very thing Title IX protects.

     That “add[s] words” and “impose[s] a new requirement” that Title
IX doesn’t. Muldrow, 601 U.S. at 355. And far from employing an “objec-
tive standard,” the Rule says harm is cognizable only if it implicates a
person’s “subjective, deep-core sense of self.” Compare 89 F.R. at 33,815,
with id. at 33,809; see Muldrow, 601 U.S. at 254–55. This change under-
mines Title IX’s purpose, making it harder for students, particularly


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girls, to “participat[e] in” or receive “the benefits of ” educational pro-
grams. 20 U.S.C. § 1681. This Court favors constructions that serve, ra-
ther than frustrate, a statute’s evident purpose. John Hancock Mut. Life
Ins. Co. v. Harris Tr. & Sav. Bank, 510 U.S. 86, 94–95 (1993) (interpret-
ing text consistent with statute’s “object”).

      By elevating gender identity over Title IX’s sex-based protections,
the Rule also leads to absurd results. For example, per Defendants, Con-
gress required schools to allow men and women to share hotel rooms but
not dorm hallways, see 20 U.S.C. § 1686, to wrestle each other in gym
class, 34 C.F.R. § 106.34(a)(1), but not after school, id. § 106.41(b), and to
shower together, id. § 106.33, but not debate each other at Girls State,

(20 U.S.C. § 1681(a)(7). That’s unreasonable. This Court doesn’t construe
statutes to produce “absurd” results Congress didn’t intend. Resolution
Trust Corp. v. Westgate Partners, Ltd., 937 F.2d 526, 531 (10th Cir.
1991).
      The de minimis–harm standard also threatens sex-specific sports.
As even the Rule recognizes, there is no statutory “exception” for athlet-
ics. 89 F.R. at 33,819. While the Javits Amendment instructed the agency
to issue regulations on “intercollegiate athletics,” it did not amend the
relevant statutory text. So even on Defendants’ theory, only intercolle-

giate athletics were exempted from the de minimis–harm rule. But that
threatens the 1975 regulations, which cover K-12 sports too. In other
words, the logic behind the de minimis–harm rule would at minimum


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forbid sex-specific sports in K-12 schools. But this Court should reject this
misreading of the Javits Amendment. The better reading—and only one
that allows sex-designated sports in K-12 schools—is that Title IX’s non-
discrimination mandate allows and sometimes require sex distinctions to
achieve its goals.

     Moreover, the Rule on its own terms threatens sex-specific sports.
Section 106.10 redefines sex discrimination, and § 106.11 says this new
definition “applies … to all sex discrimination occurring under a recipi-

ent’s education program or activity” (emphasis added). That includes ath-
letics. 89 F.R. at 33,528 (interpreting “‘program or activity’ broadly …”);
34 C.F.R. § 106.31 (a)(1) (106.10 covers “other education program[s] or
activit[ies]….”). And while § 106.31(a)(2) exempts § 106.41(b), it doesn’t
exempt § 106.41(a), which bans sex discrimination “in any interscholas-
tic, intercollegiate, club or intramural athletics.…” Nor does it limit
§ 106.10 or § 106.11’s broad scope. Op. Br. 27 n.6. So, § 106.10’s redefini-
tion of sex discrimination applies to educational programs generally
through § 106.11, and specifically to sports through § 106.41(a).

     Defendants accept that “courts may not ‘disregard [a statute’s]
plain terms based on some extratextual consideration,’” Op. Br. 30 (quot-
ing Bostock, 590 U.S. at 673–74), but the de minimis–harm standard does

exactly that. Sure, Defendants say “discrimination” includes “an element
of injury,” Op. Br. 26, but § 1681(a) also forbids sex-based exclusions and
denials. Defendants don’t explain how that text supports their biased


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standard. Nor can it. A woman denied the privacy of a women’s-only
locker room is effectively “excluded” from an educational program “on the
basis of sex” and is “denied the benefits of” that program. That exclusion
and loss doesn’t change depending on the gender identity of biological
males entering these spaces. Defendants are simply using their new de

minimis–harm standard to define Title IX injuries based on the admin-
istration’s policy preferences rather than statutory text. This Court
should reject this attempted Title IX rewrite.

     C.    The Rule is contrary to the Constitution and RFRA.

     Besides contradicting Title IX, the Rule also violates the Constitu-
tion and RFRA. Specifically, it violates the Spending Clause, compels and
restricts speech, and violates the right to exercise one’s faith.

           1.    The Rule violates the Spending Clause.

     “[W]hen Congress attaches conditions to a State’s acceptance of fed-
eral funds,” including education funds, “the conditions must be set out
‘unambiguously.” Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548
U.S. 291, 296 (2006). Title IX is spending legislation, see Davis Next
Friend LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 639–40
(1999), so its conditions must be clear and unambiguous. Congress’s
spending power is not unlimited. There are four widely-recognized re-




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strictions (the Dole restrictions), all of which must be satisfied, or a Con-
gressional spending program will be found unconstitutional. South Da-

kota v. Dole, 483 U.S. 203, 207 (1987).
     The second Dole restriction is most relevant here: “if Congress de-
sires to condition the states’ receipt of federal funds, it ‘must do so unam-

biguously… enabl[ing] the States to exercise their choice knowingly, cog-
nizant of the consequences of their participation.’” Dole, 483 U.S. at 207
(quoting Pennhurst, at 451 U.S. 17). Defendants claim the Rule merely

“clarifies” Title IX’s existing requirement that schools cannot discrimi-
nate on the basis of sex, which, post-Bostock, includes discrimination on
the basis of “gender identity.” This argument defeats itself: A statute that
imposed “unambiguous” conditions on States does not need “clarification”
fifty years later. The “gender identity” condition is not contained in the
text of Title IX and therefore was not “unambiguously” attached to the

federal funding at the time the law was passed.
     Defendants make no attempt to dispute this. They do not contest
that the plain meaning of “sex,” as it would have been understood by the
Congress that passed Title IX or the State legislators who accepted its
terms, is “biological sex.” They also do not (and cannot) contest that
courts evaluate Spending Clause cases in the same way they do contract
cases. As the Supreme Court said in Pennhurst, “[t]he legitimacy of Con-
gress’ power to legislate under the spending power thus rests on whether
the State voluntarily and knowingly accepts the terms of the ‘contract’”


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at the time the “contract” was made. 451 U.S. at 17. In other words, the
terms set by Congress in 1972 and 1974 were that “sex” meant biological
sex, not “gender identity.” Those terms cannot now be changed by agency
action.
     The States did not agree to these conditions; they did not agree to

(1) abolish sex-separated restrooms and locker rooms, (2) allow biologi-
cals males to play on women’s teams, (3) police teachers’ and students’
pronoun use, or (4) force teachers, students, and others to violate their
religious convictions. The district court below correctly held that “Title
IX did not unambiguously condition funds on the prohibition of gender
identity discrimination.” Order at 27. In Tennessee as well, the court ad-

dressed the same issue and rejected the same Defendants’ arguments.
Tennessee v. Cardona, 2024 WL 3019146, at *15 (E.D. Ky. 2024). So, it is
undisputed that “sex” in 1972 and 1976 meant “biological sex,” the Rule’s
redefinition of “sex” to include “gender identity” changes the terms of the
“contract,” and that is unconstitutional.
     In addition to the fact that the States did not agree to the new terms

of this contract, States would also have difficulty complying with it. De-
fendants argue that a school should have no difficultly determining a stu-
dent’s “gender identity” because the school may rely on the student’s
word. But the Rule contains no requirement that the school know a stu-
dent’s “gender identity” is different than his or her biological sex, schools




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are not allowed to inquire about “gender identities,” and a person’s “gen-
der identity” may change over time. In other words, Defendants’ assur-
ance that, “It’s ok, the student will tell you,” is no assurance at all. Fur-
ther, they do not bother wrestling with how the Rule applies to people
who do not attend or work at the school (parents, visiting students, other

guests, etc.). So, if a school stops a forty-year-old (apparent) man from
entering an elementary school girls’ restroom, could it lose millions in
federal funding? The Rule is completely silent. The Rule also provides no
guidance as to how schools should treat students who “identify” as nei-
ther male nor female or as any of the other “gender identities” identified
by the “respected medical organizations” on which Defendants rely. For
these reasons, even if the word “sex” does need “clarification” (and it does
not), the way the Rule “clarified” it is unconstitutional.
     The third Dole restriction is that “the conditions must be related to

the federal interest in the particular program.” Kansas v. United States,
214 F.3d 1196, 1199 (10th Cir. 2000) (“Kansas I”) (emphases added). Title
IX already protects all students from discrimination on the basis of sex—
but not “gender identity.” Defendants sputter that the Rule creates pro-
tection for all students, but they utterly fail to explain how a rule that
eliminates protections for women and girls is related to a statute that

was passed specifically for the protection of women and girls. The Rule is
not related to the federal interest expressed by Congress when it enacted
Title IX.


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        The Rule also violates the fourth Dole restriction because it will re-
quire States to violate the Constitutional rights of students, parents,

teachers, and others. The Rule contains no protections for free speech,
religious liberty, or equal protection nor guidance as to how a school could
possibly carry out the Rule without infringing these rights. For these rea-
sons, the Rule violates the Spending Clause.
        Finally, the Rule violates the principle that the Spending Clause
and the Supremacy Clause require Congress to speak. The Rule effec-

tively preempts multiple state laws, such as Kansas’s S.B. 180, which
requires all public schools to record a student’s sex as his or her sex at
birth. But only “Laws of the United States” enacted by Congress can dis-
place state law. 6 U.S. Const., Art. VI. A federal agency cannot exercise
this power unless expressly authorized by Congress to do so. The pur-
chased preemption presented by the Rule is especially troubling because
neither Congress nor a State legislature is involved. The executive
agency sets the new terms of the deal (contrary to the terms previously
set by Congress) and the school districts change their behavior to get the

money, without any ratification of the new terms by the State legislature.
The States’ legislature and statutes are ignored.




6   But see Fid. Fed. Sav. & Loan Ass'n v. de la Cuesta, 458 U.S. 141, 153
(1982).


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           2.    The Rule compels and restricts speech based on con-
                 tent and viewpoint.

     The Rule fails because it compels and restricts speech based on
viewpoint. Viewpoint discrimination is “an egregious form of content dis-
crimination.” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S.

819, 829 (1995). Schools may not forbid “the expression of an idea simply
because” the government believes the expression is “offensive or disa-
greeable.” Texas v. Johnson, 491 U.S. 397, 414 (1989). Here, the Rule

forces teachers and students to speak inaccurate pronouns and to avoid
saying sex is binary or immutable. The First Amendment forbids this co-
ercion. R.A.V. v. City of St. Paul, 505 U.S. 377, 392 (1992).

     Two changes require this coercion. First, § 106.10 expands the def-
inition of “sex” to include subjective concepts like “gender identity” and
“sex stereotypes.” 89 F.R. at 33,886. Second, the Rule creates a “broader
standard” for hostile-environment claims. Id. at 33,498. Harassment
need only be severe or pervasive. Complainants need not show “any par-
ticular harm” or exclusion from educational programs. Id. at 33,511. Har-

assment can be anything the student considers “unwelcome” or that “lim-
its” the student’s ability to benefit. Id. at 33,884 (codified at 34 C.F.R.
§ 106.2). These changes force teachers and students to speak inaccurate

pronouns and to avoid saying sex is binary or immutable.
     The new harassment standard requires schools to treat people ac-
cording to their gender identity or they will inflict “more than de minimis



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harm.” 89 F.R. at 33,887. So, failing to use someone’s chosen pronouns
causes more than de minimis harm. Id. at 33,516 (“misgendering” can be

harassment). Severe or not, pervasiveness is enough to trigger liability.
And pronoun use is pervasive given its ubiquity in conversation. Id. at
33,498. Bolstering this fear, the Rule praises punishing a student for

wearing a t-shirt saying, “There Are Only Two Genders,” because that
speech “invades the rights of others.” Id. at 33,504 (citing L.M. v. Town
of Middleborough, 677 F. Supp. 3d 29 (D. Mass. 2023)).
     This change threatens Plaintiffs. For example, K.R. cannot use in-
accurate pronouns or say sex isn’t binary because of her Christian faith.
Appx. Vol. 1, 179–80. K.R. fears that if the new Rule goes into effect, she
could be punished for expressing her beliefs. Id. Plaintiff organizations
include individuals who share similar beliefs and fears. Id. at 63–75.
     Defendants call these fears unwarranted because their new stand-
ard “mirrors” the one for “Title VII,” Op. Br. 35, and doesn’t require any-
one to “affirm ‘any particular view on any issue,’” id. at 37 (citing 89 F.R.
at 33,505); it merely requires “schools to address sex-based harassment,”

id. This obscures Defendants’ major overhaul, which (1) changes Title
IX’s harassment standard contrary to statute, (2) requires a broader
standard that will inevitably censor and compel more speech, and

(3) prompts fears reinforced by what Defendants have said elsewhere.
See Davis, 526 U.S. at 648–52.




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     First, the new standard is contrary to statute. It disregards Davis,
which holds that harassment must be “severe, pervasive, and objectively

offensive” to violate Title IX. 526 U.S. at 650 (emphasis added). In 2020,
Defendants adopted the Davis standard and recognized that the First
Amendment demands a “narrowly tailored” harassment definition to

avoid censoring protected speech. Nondiscrimination on the Basis of Sex
in Educ. Programs or Activities Receiving Fed. Fin. Assistance, 85 F.R.
30,026, 30,142 (May 19, 2020); accord id. at 30,033. And Davis warned

against “impos[ing] more sweeping liability than” it “read Title IX to re-
quire.” 526 U.S. at 652. The new standard is far lower.
     Certainly, this Court sometimes borrows from Title VII analysis
when assessing Title IX claims. Op. Br. 35. But it doesn’t when Title IX,
its regulations, or precedents provide clarity on their own. See Roberts v.
Colo. State Bd. of Agriculture, 998 F.2d 824, 833 n.14 (10th Cir. 1993).
Here, Davis controls. And while Defendants say Davis arose in the con-
text of a “private” lawsuit rather than an administrative suit, Op. Br. 36
n.10, the Court interpreted “the same word in the same statute to address

the same legal question: the meaning of ‘discrimination’ under Title IX.”
Alabama, 2024 WL 3981994 at *5. Title IX’s words don’t change meaning
based on the type of claim. Loper Bright, 144 S. Ct. at 2266 (statutes

“have a single, best meaning”). This alone sinks the standard.




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     Second, the standard restricts speech on gender identity—a matter
“of profound value and concern to the public” that “merits special protec-

tion.” Janus v. Am. Fed’n of State, Cnty., & Mun. Emps., Council 31, 585
U.S. 878, 913–14 (2018) (cleaned up). “Pronouns,” for example, “convey a
powerful message implicating a sensitive topic of public concern.” Meri-

wether v. Hartop, 992 F.3d 492, 508 (6th Cir. 2021). As do statements
about what defines men and women and whether sex can be changed.
Some may consider these statements offensive. But Davis gave “very real

limitations” to Title IX’s definition of harassment. 526 U.S. at 652. It
doesn’t cover “teas[ing],” “name-calling,” or isolated incidents. Id.
“[S]chools” are not the “workplace”: they require more freedom. Id. at
651–52.
     The Department says it only requires schools to “address sex-based
harassment” and doesn’t tell “students and staff ‘what they must say.’”
Op. Br. 36 (citation omitted). But schools must apply some standard. The
Department has now broadened that standard. And given that the De-
partment says “misgendering” someone can be harassment, 89 F.R. at

33,516, celebrates punishing students for saying there are two only gen-
ders, id. at 33,504, and believes schools may prohibit the intentional use
of accurate pronouns without violating free speech, see Op. Br. 38 (citing

Parents Defending Educ. v. Olentangy Loc. Sch. Dist. Bd. of Educ., 109
F.4th 453 (6th Cir. 2024) (PDE)), teachers and students have much to




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fear. Their speech must conform to the Department’s standard, or they
risk discipline.

      Third, the Government’s prior statements validate this fear. In
2023, for example, the Government said employers violate Title VII when
they allow employees to “misgender” co-workers. EEOC, Proposed En-

forcement Guidance on Harassment in the Workplace, 88 F.R. 67,750
(Oct. 2, 2023), https://perma.cc/VY3Y-RCE8. The Rule incorporates this
guidance into Title IX. 89 F.R. at 33,516. More recently, the Government
repeated its view that a school policy requiring teachers to use gender-
neutral titles but not honorifics and pronouns based on gender identity
violates Title VII. Statement of Interest of the U.S. of Am., Wood v. Fla.

Dep’t of Educ., No. 4:23-cv-00526, 2024 WL 3380723 (N.D. Fla. June 27,
2024). Because the Title VII standard “aligns closely with the definition
of hostile environment … harassment” the Rule applies to Title IX, 89
F.R. at 33,500, Plaintiffs’ fears are warranted.

            3.     The Rule is vague and overbroad.

      The Rule is also vague and overbroad. A law is overbroad if it covers
“a substantial amount of constitutionally protected speech.” Kansas Ju-
dicial Review v. Stout, 519 F.3d 1107, 1121 (10th Cir. 2008). And a law is
too vague if it fails to give the person of ordinary intelligence a reasonable
opportunity to know what it forbids. Kolender v. Lawson, 461 U.S. 352,
357 (1983). The Rule violates both limits.




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     Overbreadth. The Rule is overbroad because it covers too much
speech on controversial subjects. Alabama, 2024 WL 3981994 at *5-*6.

It’s nearly identical to a policy the Eleventh Circuit struck down on that
basis. Id. (comparing Rule to unlawful policy in Speech First, Inc. v. Cart-
wright, 32 F.4th 1110, 1114–15 (11th Cir. 2022)). Such policies likely vi-
olate the First Amendment, the court said, because they restrict “political
advocacy and cover[ ] substantially more speech than the First Amend-
ment permit[s].” Alabama, 2024 WL 3981994 at *6. While the Depart-

ment accepts that the Rule may “occasionally” restrict speech, Op. Br. 38,
pronoun use is ubiquitous; the Rule compels individuals to speak one
viewpoint; and it covers conversations online. That bans “substantially
more speech” than allowed. Alabama, 2024 WL 3981994 at *6.
     To be sure, the Department cites PDE, which upheld a school har-
assment policy covering K-12 students, 109 F.4th 453, 471, but PDE is

nonbinding, the Sixth Circuit has been asked to review PDE en banc,
Parents Defending Education’s Pet. for Reh’g En Banc, PDE, No. 23-3630
(Aug. 26, 2024), Doc. No. 92, and PDE incorrectly placed the burden on

the plaintiffs to show their speech is nondisruptive. The government
bears that burden, including at the preliminary-injunction stage. Tinker
v. Des Moines Indep. Community Sch. Dist., 393 U.S. 503, 509 (1969); see
PDE, 109 F.4th at 489–90 (Batchelder, J., dissenting) (collecting cases).
And while the school in PDE provided evidence that using correct pro-
nouns would disrupt its campus and harm students who identify as


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transgender (something the plaintiffs admitted there), 109 F.4th at 463–
64, the opposite is true here, where students have engaged in desired

speech and not caused disruption or been punished by their schools.
Appx. Vol. 1, 63–74.
     Defendants’ other cases likewise fall short. Most did not review a
First Amendment challenge. E.g. Harris v. Forklift Sys., Inc., 510 U.S. 17
(1993); Throupe v. Univ. of Den., 988 F.3d 1243 (10th Cir. 2021); Delsa
Brooke Sanderson v. Wy. Highway Patrol, 976 F.3d 1164, 1168 (10th Cir.
2020). Another dealt with a policy that did not “target speech.” Rowles v.
Curators of Univ. of Mo., 983 F.3d 345, 358 (10th Cir. 2020). None upheld
a policy with the combination of factors the Rule has here. But many
courts have struck down policies like § 106.2 when given the chance. E.g.
Cartwright, 32 F.4th at 114–15, 1120; Speech First, Inc. v. Fenves, 979
F.3d 319, 323, 336–37 & n.16 (5th Cir. 2020); Saxe v. State Coll. Area

Sch. Dist., 240 F.3d 200, 215–17 (3d Cir. 2001).
     Vagueness. The Rule is vague for the same reasons. It fails to ex-
plain what teachers and students can or can’t say. For example, can an
athlete say it’s unfair for males to compete in women’s sports without
having “some impact” on transgender students? Can a teacher express to
colleagues what they believe the Bible teaches about the immutability of

sex? Defendants won’t say. The Rule’s “imprecision exacerbates its chil-




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ling effect.” Cartwright, 32 F.4th at 1121, 1125. And it creates an “imper-
missible risk” of suppression. Forsyth Cnty. v. Nationalist Movement,

505 U.S. 123, 129 (1992).
     What’s more, § 106.31(a)(2) says failing to accommodate someone’s
gender identity automatically causes harm. And given that “gender iden-

tity” means an individual’s subjective “sense of their gender,” 89 F.R. at
33,809, this would deter a reasonable student from expressing the view
that sex is fixed lest she subject herself to the sexual harassment process.
As would the Rule’s express support of cases punishing students for
speaking this view. Id. at 33,504. The Rule’s vague “some impact” stand-
ard does the same. Id. at 33,511. This imprecision is antithetical to a

school environment where students can “voice ideas and opinions without
fear of repercussion.” Speech First, Inc. v. Schlissel, 939 F.3d 756, 761
(6th Cir. 2019).
     The Rule is vague and overbroad, and Defendants’ promise to re-
spect the First Amendment cannot save it. 89 F.R. at 33,503; Op. Br. 36;
Dambrot v. Cent. Mich. Univ., 55 F.3d 1177, 1183 (6th Cir. 1995). Teach-
ers and students need not bear the risk of punishment.

           4.      The Rule violates RFRA.

     The Rule’s new harassment definition also compels and censors re-
ligiously motivated speech. § II.B.1–2. This violates RFRA, which forbids
government from substantially burdening “a person’s exercise of religion”




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without proving that the coercion advances a “compelling … interest” us-
ing “the least restrictive means.” 42 U.S.C. § 2000bb-1(a)-(b). K.R. and
members of the organizational Plaintiffs believe God created humans
male or female, and that humans cannot change their sex. Among other
things, the Rule compels them, against their beliefs, to speak inaccurate

pronouns and not to speak their view of human sexuality. Supra § II.B.1–
2. Defendants have no legitimate, much less compelling interest to com-
pel and censor this religiously motivated speech. See 303 Creative LLC

v. Elenis, 600 U.S. 570, 591–92 (2023); Meriwether, 992 F.3d at 510.

     D.    The Rule is arbitrary and capricious.

     Besides being contrary to law, the Rule is also “arbitrary” and “ca-
pricious” for three reasons. 5 U.S.C. § 706(2)(A).
     First, the Rule implausibly claims its “amendments are required to
fully effectuate Title IX’s sex discrimination prohibition.” 89 F.R. at
33,477. In reality, it elevates gender identity over sex. The Rule says
transgender students face “substantial harm” if “they are excluded from
a sex-separate facility consistent with their gender identity.” Id. at
33,819. But Defendants show no concern about forcing girls to share pri-
vate spaces with men—calling fears about that not “legitimate.” Id. at

33,820. That’s irrational. The Rule cannot claim it promotes Title IX by
erasing sex-based protections to favor gender identity.




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     Second, the Rule sharply departs from past practice without a rea-
soned explanation. See Dep’t of Homeland Sec. v. Regents of the Univ. of

Cal., 140 S. Ct. 1891, 1913 (2020). Before the Rule, Title IX never applied
to gender identity or sexual orientation. As recently as 2020, the Depart-
ment said, “Title IX did not cover gender identity discrimination.” Order

at 17 (emphasis retained). Instead of acknowledging its break with prec-
edent, the Department says its Rule merely “clarifies” Title IX. See 89
Fed. Red. at 33,474. But “the requirement that an agency provide rea-
soned explanation for its action would ordinarily demand that it display
awareness that it’s changing position,” which Defendants did not do.
F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (empha-
sis retained).
     Third, the Rule fails to consider reliance interests. For over 50
years, individuals and states have relied on the (correct) Title IX inter-
pretation. For states, this includes allowing sex-specific toilets, locker
rooms, shower facilities, and housing, accommodating the diverse needs
of men and women. And for individuals, it included knowing they would

have privacy in those spaces. The Rule nullifies all that without seriously
considering the reliance interests. It requires states to alter their present
arrangements to accommodate males in female spaces and females in
male spaces and to accommodate nonbinary individuals in new spaces
which do not currently exist. These accommodations, especially for those




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with nonbinary or gender-nonconforming gender identities, cannot be ac-
complished with schools’ existing sex-specific facilities.
      The Rule doesn’t take these concerns seriously. It merely says
§ 106.31(a)(2) compliance “may require updating of policies or training
materials, but would not require significant expenditures, such as con-

struction of new facilities or creation of new programs.” 89 F.R. 33,876.
Far from the “more detailed justification” that the APA requires, Defend-
ants flatly deny any significant costs as a result of the Rule. This unex-
plained denial violates the APA. Regents, 140 S. Ct. at 1915. Agencies
that change longstanding policy are “required to assess whether there
were reliance interests, determine whether they were significant, and
weigh any such interests against competing policy concerns.” Id. Defend-
ants’ failed to do that.
      It also ignores the reliance interests of students like K.R., whose
families have chosen public schools believing Title IX protects girls. The
Department is changing the bargain by forcing girls to share intimate
spaces with males, speak against their faith, and stay silent on important

social issues involving gender identity. These students and their families
will have no choice but to expend substantial resources to find educa-
tional opportunities that respect the differences between men and women
and their constitutional rights.
      The Rule doesn’t carefully consider any of this. As a result, it’s ar-
bitrary and capricious.


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III.   Plaintiffs will suffer irreparable harm.

       Having satisfied the “most important” factor—likely success on the

merits—Plaintiffs also will suffer irreparable harm. Planned Parenthood
of Kan. v. Anderson, 882 F.3d 1205, 1229 (10th Cir. 2018). They will suf-
fer nonrecoverable compliance costs, an unjust intrusion into state sov-

ereignty, and the loss of constitutional and statutory protections.
       Costs. The court below found that Plaintiff States will suffer “ex-
traordinary” compliance costs “due to the sweeping” Rule change. Appx.
Vol. 3, 605. Those include investments to update training materials, hire
additional Title IX coordinators, remodel facilities, and more. Appx. Vol.
1, 169–70; id. at 171–74. Those costs would be borne immediately without

an injunction. Id. Because those costs are unrecoverable, they inflict ir-
reparable harm. Id. at 606 (citing Thunder Basis Coal Co. v. Reich, 510
U.S. 200, 220–21 (1994) (Scalia, J., concurring)).
       Defendants argue these costs are insufficiently quantified, Op. Br.
42, but no such requirement exists, as courts routinely find irreparable
harm on evidence less than what the States provide here. E.g. Common-

wealth v. Biden, 57 F.4th 545, 556 (6th Cir. 2023). And other courts de-
ciding this same issue have aptly noticed that the States “face unrecov-
erable compliance costs in meeting the regulatory burdens imposed by

the rule, lest they lose billions of dollars in federal funding for not com-
plying.” Alabama, 2024 WL 3981994, at *6 (emphasis added). Regardless,
the Rule itself says redefining sex discrimination and harassment will


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alone cause at least a 10% increase in complaints and investigations,
costs that schools alone will bear. 89 F.R. at 33,851. Those acknowledged,
nonrecoverable costs will irreparably harm the States.
     Sovereignty. The Rule also would override or pressure the States to
change conflicting state laws, including laws allowing sex distinctions to

ensure equal sex-based opportunities. See Appx. Vol. 1, 24–27 (collecting
statutes). That too inflicts irreparable harm. Kansas v. United States
(“Kansas II”), 249 F.3d 1213, 1227 (10th Cir. 2001); see Abbott v. Perez,

585 U.S. 579, 602 n.17 (2018) (“[T]he inability to enforce its duly enacted
plans clearly inflicts irreparable harm on the State.”).
     Free Speech and Religious Exercise. Violating constitutional rights
always constitutes irreparable injury. See Roman Cath. Diocese of Brook-
lyn v. Cuomo, 592 U.S. 14, 19 (2020) (per curiam); Schrier v. Univ. of
Colo., 427 F.3d 1253, 1266 (10th Cir. 2005). The Rule threatens the free-
speech rights of K.R. and members of organizational Plaintiffs by causing
schools to deprive them of those rights. § II.B.1–2. If the Rule goes into
effect, some will self-censor their speech. This harm isn’t “speculative.”

Op. Br. 43. It’s imminent. Cf. Virginia v. Am. Booksellers Ass’n, Inc., 484
U.S. 383, 393 (1988) (“self-censorship” is a “harm”). Defendants have
never squarely disclaimed enforcement in the face of Plaintiffs’ well-pled

fears. Cf. 303 Creative LLC v. Elenis, 6 F.4th 1160, 1174 (10th Cir. 2021)
(noting importance of failure to disclaim future enforcement), rev’d on




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other grounds, 600 U.S. 570 (2023). Likewise, the Rule forces K.R. to vi-
olate her religious beliefs by speaking against them, which also consti-

tutes irreparable harm. See Hobby Lobby Stores, Inc. v. Sebelius, 723
F.3d 1114, 1146 (10th Cir. 2013).

IV.   The public interest and balance of equities favor a stay.

      The balance of equities favors a stay, and the public “always” bene-
fits when the government is prevented from violating “constitutional”

and important statutory “rights.” Hobby Lobby, 723 F.3d at 1146.
      Defendants say any time the “federal government ‘is enjoined by a
court from effectuating statutes enacted by representatives of its people,
it suffers a form of irreparable injury.’” Op. Br. 45 (quoting Maryland v.
King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (citation
omitted)). But King was discussing a “State.” King, 567 U.S. at 1303 (em-

phasis added). Defendants aren’t a state. Nor are they effectuating a duly
enacted statute. The Department is an agency trying to rewrite a statute.
There is no sovereign harm if the Rule is enjoined.
      Defendants also say the injunction injures its “compelling public in-
terest” in preventing “sex discrimination.” Op. Br. 45. But Title IX will
continue to apply as it has for 50 years. And the Department redefines

“sex discrimination” inconsistent with Title IX. § II.A. Nothing justifies
enforcing this change. The public interest lies in correctly applying the
law. Awad v. Ziriax, 670 F.3d 1111, 1132 (10th Cir. 2012). What’s more,




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on Defendants’ logic, the statute has always prohibited gender-identity
discrimination. No one will be harmed if Defendants are correct about

what § 106.10 requires (though they’re not), but Plaintiffs will imminent-
ly suffer harm if Defendants are wrong (and they are).

V.   The injunction is not overbroad.

     This Court should retain the current injunction. Defendants say the
injunction is overbroad because (1) it covers all members of organiza-

tional Plaintiffs, including those who have joined post-complaint, and
(2) the Rule can be severed. Op. Br. 45–53. They are wrong on both
counts.

     Membership. The injunction properly covers all members of organ-
izational Plaintiffs. Associational standing allows organizations to pro-
tect the interests of all members. Harvard College, 600 U.S. at 201. Lim-

iting the injunction to a subset based on membership date undermines
this purpose. It also untenably allows some members or their children to
be protected from the Rule while others are not, based solely on when
they joined. An organization may assert the interests of its members even
when membership is fluid. Hunt v. Wash. State Apple Advertising
Comm’n, 432 U.S. 333, 343–45 (1977). And it can obtain full relief only if
the injunction covers both “present and prospective” members. Pierce v.
Soc’y of Sisters, 268 U.S. 510, 535-36 (1925).




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     Severability. First, Defendants waived any severability argument
below, making just a passing reference in briefing. Appx. Vol 2, 324.

“‘Cursory statements, without supporting analysis and case law’ are in-
adequate to preserve an issue.” Burke v. Regalado, 935 F.3d 960, 1014
(10th Cir. 2019) (citation omitted). Defendants never detailed how the

Rule could partially apply yet still protect Plaintiffs. In a challenge to a
423-page regulation, they must do something to show how the injunction
could be narrowed. Louisiana, 2024 WL 3452887 at *1. Not doing so

leaves the Court figure out on its own how the Rule would work with
some parts severed. This, in addition to violating separation of powers
principles, would require the Court to “write words into the statute, or to
leave gaping loopholes, or to foresee which of many different possible
ways the legislature might respond to the constitutional objections we
have found.” Alabama, 2024 WL 3981994, at *8 (cleaned up) (quoting

Randall v. Sorrell, 548 U.S. 230, 262 (2006)).
     Second, the Supreme Court has rejected the exact severance argu-
ment Defendants make here. After two Circuit panels refused to stay par-

allel injunctions pending appeal, Defendants made the same request to
the Supreme Court. The Court rejected that request. Louisiana, 144 S.
Ct. at 2510. This Court should too.




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                            CONCLUSION

     The district court properly ordered preliminary relief to preserve

the status quo just like the Supreme Court recognized in August. This
Court should affirm the district court’s preliminary injunction.




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           STATEMENT REGARDING ORAL ARGUMENT

       The Supreme Court’s ruling in Department of Education v. Louisi-

ana, 144 S. Ct. 2507 (2024), confirms that the district court’s injunction
is warranted. To the extent that any issues remain open, Plaintiffs agree
with the Department that oral argument would assist the Court.


Dated: October 9, 2024
                                  Respectfully submitted,

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Dated: October 9, 2024

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     I hereby certify that on October 09, 2024 the foregoing brief was

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